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                            UNITED STATES COURT OF APPEALS
                                 FOR THE THIRD CIRCUIT


ATLAS DATA PRIVACY CORP., et al.

               Appellees,

v.                                                             Docket No. 25-01579

MYHERITAGE LTD.,                                        STIPULATION OF DISMISSAL
                                                         PURSUANT TO RULE 42(b)
               Appellant.


       IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel

for Appellees Atlas Data Privacy Corporation (“Atlas”), as assignee of individuals who are

Covered Persons under Daniel’s Law, Jane Doe-1, Jane Doe-2, Edwin Maldonado, Scott Maloney,

Justyna Maloney, Patrick Colligan, and William Sullivan, and for Appellant MyHeritage Ltd., that

the above-captioned matter is DISMISSED WITH PREJUDICE pursuant to Federal Rule of

Appellate Procedure 42(b), without costs or attorneys’ fees against any party.

Date: May 22, 2025

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document has served

on May 22, 2025 to all counsel of record who is deemed to have consented to electronic service

via the Court’s CM/ECF system.



                                            By: /s/ Alan C. Raul




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